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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

                                        TAMPA DIVISION

                            CASE NO.: 8:22-cv-00511-CEH-TGW


 SAMANTHA M. MARKLE,

               Plaintiff,
 v.

 MEGHAN MARKLE,

            Defendant.
 ____________________________/


                 THIRD AMENDED COMPLAINT FOR DAMAGES

         The Plaintiff, SAMANTHA M. MARKLE (hereinafter referred to as

 “SAMANTHA”), by and through her undersigned counsel, hereby serves her Third

 Amended Complaint for Damages against the Defendant, MEGHAN MARKLE

 (hereinafter referred to as “MEGHAN”), and alleges as follows:

                                      Jurisdiction and Venue

         1.    This Court has jurisdiction pursuant to 28 U.S.C. 1332, as there is diversity

 and the damages sought are in excess of $75,000 exclusive of interest, costs, and attorneys’

 fees.

         2.    Venue is proper in that the cause of action occurred in the Middle District of

 Florida.




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                                              The Parties

        3.        SAMANTHA is a private citizen who is sui juris and is a citizen of Florida.

        4.        MEGHAN is a private American citizen who is sui juris and is a citizen of

 California. She is subject to personal jurisdiction in the State of Florida pursuant to Fla.

 Stat. § 48.193(1)(a)(2), as she has committed intentional tortious acts within the State of

 Florida.

                                        Prefatory Statement

        5.        MEGHAN is an American actress who achieved success and fame in her own

 right. However, as fate had it, she met and ultimately married Prince Harry, grandson of

 Queen Elizabeth of the British Empire and second son of King Charles III.

        6.        For reasons of her own, MEGHAN distanced herself and denied familiarity

 or closeness to her family, including SAMANTHA, who is MEGHAN’s half-sister on their

 father’s side.

        7.        During their childhood, MEGHAN was very close to her older sister despite

 their 17-year difference in age. SAMANTHA was more than a model to follow, she was

 also someone who regularly went with Thomas Markle as he drove MEGHAN to and from

 school and acting classes. Among many other things, SAMANTHA helped MEGHAN

 with homework, took her on shopping trips to the local mall, and overall had a good to

 wonderful relationship with her younger sister.

        8.        Once MEGHAN started to have success as an actress, she no longer had time

 for her older sister, SAMANTHA, and by 2016, the two had stopped visiting, though there

 were no bad feelings between them, as far as SAMANTHA knew.


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       9.     Unfortunately, once MEGHAN met and began dating Prince Harry

 MEGHAN became hostile to SAMANTHA, as well as her half-brother and her father, and

 MEGHAN’s relationship with SAMANTHA became estranged.

       10.    The first sign of MEGHAN’s hostility toward SAMANTHA was in 2017,

 the year when MEGHAN announced her engagement to Prince Harry. Prior to their

 engagement, SAMANTHA phoned her sister, MEGHAN, from time to time to talk and

 catch up with MEGHAN. The defining moment highlighting MEGHAN’s unwarranted

 hostility toward SAMANTHA occurred when SAMANTHA called MEGHAN while

 MEGHAN was on break from work at her home in Canada with her mother. When

 SAMANTHA called MEGHAN, MEGHAN hung up the phone immediately upon hearing

 SAMANTHA’s voice.         That was strange as it had never happened before and so

 SAMANTHA called back right away and left a message. To this day MEGHAN has never

 returned SAMANTHA’s phone call.

       11.    Following that surprising response to SAMANTHA’s phone call, and

 continuing to the present, MEGHAN has belligerently attempted to malign SAMANTHA

 as well as other family members, as it is MEGHAN’s method to terminate friendships,

 rather than save them, and for her to become hostile.

       12.    On May 19, 2018, MEGHAN married Prince Harry at St. George’s Chapel

 at Windsor Castle in the United Kingdom. Out of MEGHAN’s entire immediate and

 extended family, only her mother, Doria Ragland, was formally invited to the wedding.

       13.    MEGHAN verbally invited Thomas Markle, the father of SAMANTHA and

 MEGHAN, only to disinvite him shortly before the wedding.


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           14.   Prior to the wedding, Thomas Markle suffered two heart attacks, and for

 obvious medical reasons was not able to attend. MEGHAN knew of his medical condition,

 and instead of showing grace and compassion, she effectively terminated her relationship

 with her father because she believed that he had attempted to gain publicity due to

 MEGHAN’s engagement.

           15.   Around that time, the media discovered SAMANTHA and began contacting

 her for interviews. SAMANTHA accepted the requests for interviews and made glowing

 and positive statements about her sister, MEGHAN, and her upcoming wedding.

           16.   During an interview, one of SAMANTHA’s statements was taken out of

 context and misconstrued. SAMANTHA revealed that MEGHAN had not yet contacted

 her father, despite knowing that Thomas Markle recently suffered two heart attacks.

           17.   SAMANTHA’s misconstrued statement was apparently the tipping point of

 MEGHAN’s relationship with SAMANTHA. After the interview with SAMANTHA, the

 press released numerous “stories” about how SAMANTHA “bashed” MEGHAN, when

 SAMANTHA had simply expressed concern for both her father and her sister, MEGHAN.

 However, once the issue was out, in the public, MEGHAN became a relentless foe to her

 sister.

           18.   It was after the interview of SAMANTHA that MEGHAN, started her smear

 campaign and ongoing deluge of distorted facts and stories, complete with fake quotes

 about and “by” SAMANTHA.

           19.   MEGHAN harbored resentment due to what she perceived to have been

 SAMANTHA’s intentional statement, and the follow-up by the press. She responded to


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 the fake quotes publicly through various media outlets. MEGHAN has never reached out

 to SAMANTHA directly to discuss these matters, nor had MEGHAN taken any steps to

 correct the lies which had been continuously spread about SAMANTHA.

        20.    MEGHAN knows and has known, at all relevant times that her older sister,

 SAMANTHA suffers from Muscular Sclerosis, a debilitating disease exacerbated by stress.

 Nevertheless, she has not only made public statements vilifying and embarrassing

 SAMANTHA, but she has encouraged hatred of SAMANTHA through a bot network

 which has caused great harm to SAMANTHA.

                                     Factual Background

        21.    In September 2020, MEGHAN and her now husband, Prince Henry, signed

 a multi-year contract with Netflix for $135 million.

        22.    In October 2020, MEGHAN and her husband, Prince Harry, started their

 joint media production project Archewell Productions, a self-controlled media production

 company.

 Oprah Prime Time Show

        23.    On March 7, 2021, MEGHAN and Prince Harry appeared on an Oprah

 Winfrey prime time special. Approximately fifty (50) million people worldwide viewed

 this program (hereinafter referred to as the “Interview”).

        24.     During the Interview, MEGHAN made four (4) disparaging, hurtful and

 false statements insinuating that SAMANTHA is a stranger, a liar, and a person who was

 only a deceptive fame-seeking imposter with avaricious intentions toward MEGHAN.

        25.    To publicly refer to one’s own flesh and blood as a stranger and attack the

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 veracity of SAMANTHA’s recently written and released book was more than giving her

 opinion, the false statements insinuated that SAMANTHA has concocted a fictitious story

 to reap some inappropriate reward from MEGHAN’s fame.

       26.    In the Interview, the interviewer asked MEGHAN about SAMANTHA and

 SAMANTHA’s book. In direct response to the question, MEGHAN stated:

              I think it [sic] be very hard to tell all when you don’t know
              me. . . When you talk about betrayal, betrayal comes from
              someone that you have a relationship with. Right? I don’t feel
              comfortable talking about people that I really don’t know.”
              [Interview 00:03:36.]

       27.     Yet, MEGHAN’s supposed discomfort did not stop her from making three

 (3) additional false and damaging statements in the Interview about Samantha.

       28.    MEGHAN stated, “I grew up as an only child” which “as everyone who grew

 up around me knows, and I wished I had siblings.” [Interview 00:03:36.] Although taken

 as an isolated statement, one could misinterpret the ‘only child’ statement as a statement

 of how MEGHAN felt. However, when put in context of the other statements about

 SAMANTHA, this statement was a denial that SAMANTHA played a part in her life and

 her upbringing.

       29.      As such, the statement impugned the character of SAMANTHA by making

 SAMANTHA appear to be a liar for profit and fame. This was especially true because

 SAMANTHA had written a book which expressed the truth of their relationship. The

 statement by MEGHAN set up the oft-spoken and oft-implied false accusation that

 SAMANTHA is a liar who is fabricating stories about MEGHAN so that SAMANTHA


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 could become rich and famous off of MEGHAN’s marriage to Prince Harry.

        30.    Using reductive logic, MEGHAN then degraded their relationship to the

 “physical form” only, stating “the last time I saw her must have been at least 18, 19 years

 ago, and before that, ten (10) years before that.” [Interview 00:04:19.] This was a false

 statement of fact, not an opinion, which, again, implied that SAMANTHA was a liar and

 fame-seeker, because it ignored the multitude of phone conversations MEGHAN and

 SAMANTHA had enjoyed throughout the years. Those phone calls went both-ways and

 MEGHAN often called SAMANTHA for sisterly advice.                               Those calls happened

 periodically throughout their pre-Prince Harry lives.

        31.    As a follow up question about the relationship between SAMANTHA and

 MEGHAN the Interviewer asked: “So you all weren’t close. You didn’t grow up together.”

 [Interview 00:04:22.] That question gave MEGHAN the opportunity to state in a damaging

 and hurtful response: “No.” Again, MEGHAN attacked SAMANTHA’s veracity calling

 into question on a world stage, SAMANTHA’s own fond memories of the times spent

 together when they were both younger, with their father, Thomas Markle, in his home,

 where she was living at that time.

        32.    The final defamatory statement MEGHAN made during the Interview was

 that SAMANTHA changed her surname back to “Markle” when MEGHAN started dating

 Prince Harry. That statement was false and harmful because it was not the time that

 SAMANTHA began to use the name “Markle.” By making that false statement as to the

 timing that SAMANTHA started to use her maiden name, MEGHAN created an accusatory


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 air of mendacity ignoring the multitude of reasons a person, like SAMANTHA, may

 change their name and when and why, in fact, SAMANTHA changed her name.

        33.    The statement, “she changed her last name back to Markle… only when I

 started dating Harry. And so, I think that says enough” (Emphasis added.) [Interview

 00:05:00.] inferred that SAMANTHA was nefariously using MEGHAN’s last name to

 cash-in on her sister’s fame. The statement was not true.

        34.    In fact, SAMANTHA legally changed her name back to Markle in July of

 2022, five years after MEGHAN started to date Harry, and after her relationship with

 MEGHAN fell apart. Of greater significance, SAMANTHA has used her family name

 Markle interchangeably all of life.

        35.    It is of importance that, rather than interpreting each word said, or each false

 set of words, it is important to look at the whole effect, of all that was said in the interview,

 together. According to MEGHAN, she was betrayed by SAMANTHA, who MEGHAN

 claimed that she really did not know. MEGHAN always wanted a brother or sister, and

 the implication, if not the specific statement was that SAMANTHA was someone who

 MEGHAN did not know well enough to comment. The context of these statements by

 MEGHAN was that SAMANTHA was falsely portraying that she was MEGHAN's sister;

 all so that SAMANTHA could gain wealth and fame pretending that she was MEGHAN's

 true sister. SAMANTHA was being impliedly accused of being a charlatan.

        36.    MEGHAN used her station and access to popular platforms to direct her

 hurtful, malicious, and untrue words toward tens of millions of people worldwide.


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        37.    None of MEGHAN’s above statements were true, nor were they the mere

 opinion of an individual, They are statements used as a weapon to discredit and injure the

 reputation and pecuniary interests of SAMANTHA.

        38.    The statements made in the Interview are injurious and defamatory and

 harmed and continue to harm SAMANTHA, emotionally, physically, and monetarily and

 have caused hatred and threats against SAMANTHA.

 Netflix Documentary Series

        39.    On December 8, 2022, Netflix aired the first part of a 6-part mini-series

 entitled Harry & Meghan (hereinafter referred to as the “Series”) on its streaming platform.

        40.    The Series was a joint effort between MEGHAN’s production company

 Archewell Productions and Blackwell & Ruth.                 The Series was filmed, edited, and

 produced for Netflix under the direction of MEGHAN and Prince Harry.

        41.    According to CBS news, just 6 days after its release, the Series had received

 twenty-eight million views by December 14, 2022. The series became the most-watched

 subscription TV show of the year.

        42.    The Series contains six episodes, and each episode has a runtime of almost

 54 minutes and entails a collection of interviews with: MEGHAN, Prince Harry, and a very

 select, hand-picked, group of their friends, family, and interested and participatory parties.

        43.    During the 323 minutes of running time the only members of MEGHAN’s

 entire family that are interviewed are MEGHAN’s mother, Doria Ragland, and

 MEGHAN’s niece, SAMANTHA’s daughter, Ashleigh Hale.


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        44.      MEGHAN used the Series as a platform to publish, promulgate and distribute

 on a worldwide level malicious, hurtful, and damaging lies many of which were directed

 at SAMANTHA.

        45.      The Six-Part mini-docuseries mentioned SAMANTHA, either directly or

 indirectly, in four (4) of the six (6) episodes.

        46.      In the Series, there are numerous isolated statements made about

 SAMANTHA. As this Series was produced and edited by Archewell Productions, all the

 statements were ultimately approved by and published by MEGHAN.                  MEGHAN

 published these statements.

        47.      The Series is disparaging and hurtful on its own; and the statements when

 taken individually or collectively, weave a narrative of lies that MEGHAN hides behind in

 an attempt to bolster her own false “rags-to-riches” while actually discrediting her sister

 calling her a liar and “fame seeker,” and far worse, going so far as to publish statements

 which imply or state that SAMANTHA is a racist.

        48.      The defamatory statements made in the Series, Episodes 2 – 5 are restated

 below. These statements are either defamatory on their own or when taken together create

 the implication that SAMANTHA is a liar and “agent provocateur,” the one who is

 fabricating stories, and a racist.

        49.      The statements:

              a. MEGHAN said: “I was with my mom during the week and with my dad on

                 the weekends. And my dad lived alone, he had two adult children who had

                 moved out of his house.” [Series. Season 1, Episode 2; 27:46]. In reality,

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             MEGHAN lived with her father full-time and visited her mother on some

             weekends. When MEGHAN was in Jr. High School, SAMANTHA lived on

             the property and was always home when MEGHAN came home from school.

             Often, she drove MEGHAN to school or accompanied her father when her

             father drove. After school SAMANTHA and Thomas Markle would help

             her with her homework, and he took MEGHAN shopping on weekends.

          b. Meghan said: “You’re telling people you raised me.” [Series. Season 1,

             Episode 3; 18:17].       MEGHAN said this, herself, and it is not true.

             SAMANTHA never suggested that she raised MEGHAN. These false

             statements are incendiary to MEGHAN’s fans who have harassed and

             threatened SAMANTHA due to these statements published by MEGHAN.

          c. MEGHAN said: “I don’t remember seeing her when I was a kid at my dad’s

             house, if and when they would come around.” [Series, Season 1, Episode 3;

             18:31]. In reality, MEGHAN was close to SAMANTHA while she lived in

             her father's home, and there is no way that she could have forgotten it,

             considering that she continues to have memories of other issues at that time.

          d. Christopher Bouzy who worked for Bot Sentinel and was retained by

             MEGHAN for the Series, and in his employ by MEGHAN, in the course of

             and scope of his retention, he said and MEGHAN published:

                i. “So this is not your everyday trolling… It’s insane. And it was done

                    by people who were just not the typical quote-unquote trolls. Thes


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                    are housewives. These are middle-aged Caucasian women creating

                    just constant attacks, from “Go back to America,” to basically, you

                    know “Why don’t you die?”

                ii. “Samantha Markle was part of the group that was putting out a lot of

                    this disinformation.”

               iii. “How can the half-sister of Meghan be part of a hate group.”

               iv. “Perhaps the most troubling part of this is the number of British

                    journalists interacting with and amplifying the hate and the lies.”

                v. “For the main hate accounts, their primary motive is monetizing this

                    stuff.”

               vi. “But the secondary accounts, it’s all about hatred.”

               vii. “It’s about, you know… You know, race.”

              viii. “So, then there would be derogatory terms where they would use the

                    N-word on tweets.” [Series. Season 1, Episode 5; 29:19 – 31:49].

          e. Prince Harry said: “I think for people to really understand, you know when

             you plant a seed that is so hateful, what it can grow into.” [Series. Season 1,

             Episode 5; 32:00]

          f. To Prince Harry’s comments, alluding to the press and SAMANTHA,

             MEGHAN said: “You’re making people want to kill me – it’s not just a

             tabloid. It’s not just some story. You are making me scared.” [Series. Season

             1, Episode 5; 32:05].


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             g. Christopher Bouzy added, and MEGHAN published: “Samantha had her

                account suspended;” “And then we actually sent Twitter a list because she

                had, like, eleven (11) additional accounts. And yeah, we were baffled by

                this.” [Series. Season 1, Episode 5; 30:20].

       50.      In truth, Samantha originally had only the one (1) original Twitter account

 and she was not part of the spreading of alleged misinformation. She was, however, the

 victim of hacking and individuals creating imposter accounts. As a result of the hacking

 and imposter accounts, she was forced to make her own other accounts when trolls of

 MEGHAN literally took over her one (1) original account.

       51.      The suspension of her account, which is impliedly due to statements about

 MEGHAN, in reality, was a short “freeze” because of SAMANTHA’s endorsement of

 Ivermectin.    Others, unknown and unbeknownst to SAMANTHA had created other

 accounts in SAMANTHA’s name.                She was not suspended because of the alleged

 misinformation that was spread about MEGHAN and attributed to SAMANTHA’s name

 and account.

       52.      The implication of the statements said in the Series produced and edited by

 MEGHAN through her own words and hand-picked interviewees were incredibly

 damaging and dangerous. In this regard, the Series falsely accused SAMANTHA to be a

 member of a hate group which was about “race,” and even used the “N-Word.” The

 statements demonize SAMANTHA. The Series is a porta vox for MEGHAN used to reach

 millions of people, many of whom used the Series to cause the formation of their negative



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 opinion of SAMANTHA and begin their own hate-filled smear campaigns which actually

 rose to the level of death threats against SAMANTHA.

        53.    MEGHAN and the Series intentionally and purposefully denied the truth:

 that a relationship existed between SAMANTHA and MEGHAN. Going so far as to deny

 the existence of a relationship between SAMANTHA and MEGHAN since they were

 younger, living in the same home, under their father’s roof, or adjacent to it.

        54.    The Series undermined SAMANTHA. It both directly stated and implied

 that everything SAMANTHA was saying or had said was a lie, by a stranger attempting to

 take an unfair and dishonest effort to capitalize on MEGHAN’s fame, and to do so by

 vaulting a false narrative to the public that SAMANTHA was MEGHAN’s half sister, and

 that they were close prior to MEGHAN dating Price Harry.

        55.    MEGHAN continues to participate in and perpetuate the lies around her

 family and upbringing, and where MEGHAN could have set the record straight, she did

 not.   Instead, MEGHAN continues the hurtful lies being told about her sister,

 SAMANTHA; lies that have defamed SAMANTHA and the negative fallout that has

 therefrom occurred.

 Harm Was Caused

        56.    MEGHAN’s prevarications were greatly injurious to SAMANTHA because

 it caused a public reaction.

        57.    SAMANTHA lives in a small Florida city, Lakeland, where she is well

 known. Moreover, she is known because she is the sister of MEGHAN who enjoys great

 fame, wealth, and prestige. MEGHAN is a celebrity with a huge fan base, which includes

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 extremists. When MEGHAN repeated over and over the same false narrative of not

 knowing her sister and the two of them not being close, she instilled anger in her fan base

 against SAMANTHA, by a significant part of the population of Lakeland.

        58.    Suddenly, with MEGHAN’s lies, emotionally connected fans turned against

 SAMANTHA believing that she was a imposter who was distant from her younger sister.

 SAMANTHA was made out to be a greedy and dishonest opportunist when people believed

 that she had no relationship with her sister, and that SAMANTHA was attempting to cash-

 in on her sister’s success and fame.

        59.    All the false remarks in the Oprah Winfrey Interview and Netflix Series

 around SAMANTHA were false, whether said directly by MEGHAN or others at her

 obeyance. Stated with full knowledge that the statements she was saying were false. All

 the statements by MEGHAN were said with malice in that she knew that they were false,

 and she also knew that they would cause harm to her older sister, SAMANTHA.

        60.    Moreover, the publicization of the defamatory statements in this case was on

 a worldwide scale by a celebrity, MEGHAN. By virtue of SAMANTHA’s relation to her

 half-sister, the public took an interest in SAMANTHA.

        61.    The false and malicious statements above caused substantial, irreparable

 prejudice, injury, and harm to SAMANTHA’s reputation to a substantial, sizable, and

 appreciable part of SAMANTHA’s community, and caused her great anxiety and

 emotional distress.

        62.    As a direct result of MEGHAN’s false and defamatory statements and those


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 which were not hers, but which she published by her, SAMANTHA received hateful emails

 and messages on a regular basis and her reputation has been so damaged that she has been

 unable to work in her profession as a mental health counselor.

        63.    The dangerousness of the false narrative can be seen in the fact that

 SAMANTHA sought and obtained an “Injunction for Protection Against Stalking” in Polk

 County, Florida against one of MEGHAN’s overzealous fans.

        64.    All predicate acts which were required to have been done have been done or

 the requirement has been waived.

                                    Count I - - Defamation

        65.    SAMANTHA avers the allegations in Paragraphs 1 through 64, above, and

 incorporates them by reference as though they are fully restated in this Count.

        66.    Utilizing her power as the Duchess of Sussex, MEGHAN made, published,

 and disseminated false statements about her own half-sister SAMANTHA, with the intent

 to spread the statements across the globe.

        67.    As a consequence, of the false and defamatory allegations and statements,

 SAMANTHA was subjected to an incomprehensible amount of public scrutiny.

        68.    On a regular basis, SAMANTHA receives hate messages and suffers

 emotionally from the worldwide hatred, contempt, and ridicule that she is forced to endure.

        69.    As described above, the statements made by MEGHAN were false, and at

 the time the statements were made MEGHAN had actual knowledge that these statements

 were false.

        70.    Disregarding the truth and veracity of her statements MEGHAN has


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 repeatedly and continuously published false and defamatory statements regarding

 SAMANTHA. To this day, MEGHAN continues to contact the media in order to further

 spread these blatant lies across the globe.

        71.      The false and defamatory statements have prejudiced, harmed, and injured

 SAMANTHA’s reputation, and she is exposed to hatred, ridicule, and contempt by the

 public daily.

        72.      Moreover, because of the malicious statements, SAMANTHA has also

 suffered injury to her occupation as a Mental Health Counselor.

        73.      The statements made by MEGHAN was the direct and proximate cause of

 SAMANTHA’s harm and taken together have caused SAMANTHA to suffer actual

 damage in the form of harm to occupation, as well as emotional and mental distress,

 including anxiety and fear due to threatening and violent emails and messages she receives

 on a regular basis from the public, and the permanent harm caused to her reputation and

 credibility.

        WHEREFORE, the Plaintiff, SAMANTHA M. MARKLE, asks that his Court grant

 a judgment for compensatory damages, punitive damages, costs and such further and other

 relief as this Honorable Court may deem just and proper.

                              Count II - - Defamation by Implication

        74.      SAMANTHA avers the allegations in Paragraphs 1 through 64, above, and

 incorporates them by reference as though they are fully restated in this Count.

        75.      It is not just the words MEGHAN used, but also how she crafted her false

 narrative that causes damage to SAMANTHA. Not accomplished by direct statements


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 about SAMANTHA alone; but also, in MEGHAN’s juxtaposition of lie and fact and the

 surgically precise omission of truth, that, like the spider and the fly, weaves MEGHAN’s

 false narrative and injures SAMANTHA, encapsulating the unsuspected listener in the

 gossamer web of fiction, spun by MEGHAN.

        76.    MEGHAN went to great lengths to “silence” the truth by impugning and

 damaging the character of SAMANTHA, because SAMANTHA knew the truth of

 MEGHAN’s past.

        77.    One can look at any one of the above statements from either of the Interview

 and the Series and see how those statements damage and defame SAMANTHA’s character

 by the juxtaposition of MEGHAN’s lies with facts to imply SAMANTHA is a liar,

 untruthful fame-seeker, racist and only out to hurt MEGHAN to make an unearned and

 unworthy name for herself.

        78.    MEGHAN intentionally and knowingly omitted facts.

        79.    MEGHAN’s false statements created the defamatory implication that

 SAMANTHA had no relationship whatsoever with her sister and that SAMANTHA was

 creating a lucrative career selling false stories to the tabloids and television programs.

        80.    MEGHAN engaged in such defamatory by implication conduct knowingly,

 intentionally and with actual malice, fully aware that she was doing such with the plan to

 damage, injure and harm SAMANTHA’s reputation and credibility.

        81.    The defamatory by implication statements in fact severely damaged

 SAMANTHA by prejudicing, harming, and injuring her reputation and credibility, and

 exposing her to hatred, ridicule or contempt in her business, reputation and occupation.


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        82.     SAMANTHA has suffered actual damages in the form of lost employment,

 lost income from sales of her autobiography, emotional and mental distress, including

 anxiety and fear due to the threatening and violent emails and messages she receives

 regularly, and harm to her reputation and credibility.

        WHEREFORE, SAMANTHA M. MARKLE asks this Court to enter a judgment

 for compensatory damages, punitive damages, costs and for such further and other relief

 that this Honorable Court may deem just and proper.

                                  Demand for Trial By Jury

        The Plaintiff, SAMANTHA M. MARKLE hereby demands a trial by jury on all

 issues so triable.




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           DESIGNATION OF EMAIL ADDRESSES FOR SERVICE
                (Pursuant to Rule 2.516 Fla. R. Jud. Admin.)
 The undersigned attorneys of The Ticktin Law Group hereby designate the following Email
 Addresses for service in the above styled matter. Service shall be complete upon emailing
 to the following email addresses in this Designation, provided that the provisions of Rule
 2.516 are followed.
          Serv549@LegalBrains.com; Serv513@LegalBrains.com;
                     Serv512@LegalBrains.com
    SERVICE IS TO BE MADE TO EACH AND EVERY EMAIL ADDRESS
         LISTED IN THIS DESIGNATION AND TO NO OTHERS.

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been

 furnished to all parties registered to receive service via CM/ECF this 13th day of April,

 2023, to MICHAEL J. KUMP, ESQUIRE, mkump@kwikhlaw.com, Kinsella Weitzman

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